        Case 2:24-cv-03113-EK-ARL Document 5-1 Filed 04/26/24 Page 1 of 2 PageID #: 29

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                     for the
                                                       Eastern District
                                                     __________         of of
                                                                 District  New  York
                                                                              __________

 Frandy De Jesus Espinal Goris, on behalf of himself                   )
      and all other persons similarly situated,                        )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                             Civil Action No. 2:24-cv-03113-EK-ARL
                                                                       )
         Inter Trucking Inc., and Robinson Caba,                       )
                                                                       )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Robinson Caba
                                           c/o Inter Trucking Inc.
                                           84 Walnut Rd.
                                           Amityville, NY 11701




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Michael Samuel, Esq.
                                       THE SAMUEL LAW FIRM
                                       1441 Broadway, Suite 6085
                                       New York, New York 10018
                                       michael@thesamuellawfirm.com


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                                  #3&//" #.")0/&:
                                                                                 CLERK OF COURT


Date:    04/26/2024
                                                                                           Signature of Clerk or Dep
                                                                                                                 Deputy Clerk
         Case 2:24-cv-03113-EK-ARL Document 5-1 Filed 04/26/24 Page 2 of 2 PageID #: 30

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 2:24-cv-03113-EK-ARL

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
